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UNITED STATES BANKRUPTCY COURT
DISTRICT OF COLORADO

In re: Case No.: 20-10417-TBM
Chapter: 7
Carol Marlene Freel,

Debtor

 

TRUSTEE’S MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT

The Chapter 7 Trustee, Jeffrey L. Hill (“Trustee”), hereby moves to approve a settlement and

disbursement of settlement proceeds, and in support thereof, states as follows:

1, On January 21, 2020, Carol Marlene Freel (the “Debtor”) filed for relief under Chapter 7
of the U.S. Bankruptcy Code. The Trustee was appointed as the duly authorized and qualified Chapter 7
Trustee on the same day.

2. The Trustee discovered that the Debtor had a potential claim against The Anchor Law
Firm (“Anchor”). According to the Debtor, Anchor collected money from the Debtor for debt
consolidation, however, Anchor did not perform.

3. The Trustee contacted Ms. Ice of Ice Legal, P.A. (“Ice Legal”) and discussed the case
with her, and Ms. Ice was interested in representing the Estate. Ms. Ice stated that her firm already had
represented other plaintiffs and had brought dozens of actions for fraud-based torts and RICO claims
against The Anchor Law Firm and other co-conspirators under federal or state claims across multiple
states.

4, Ice Legal began negotiations on behalf of all the plaintiffs, including the Estate. Ice Legal
was successful. Ice Legal informed the Trustee of the negotiations and ultimately the settlement. The
Trustee found the settlement to be very reasonable and in the best interest of the Estate.

5. The defendants will pay Ice Legal within five business days of all parties signing the
settlement agreement, and all bankrupt parties receiving court approval of the settlement. This settlement
payment will be sufficient to pay Ice Legal its contingency fee and legal costs (as more fully described
below), the anticipated Chapter 7 administrative fees and costs, as well as provide for a 100% distribution
to creditors.'

6. The Trustee retained the services of Ice Legal after she learned that the Debtor had this
potential claim against Anchor and Ice Legal had experience with this type of litigation. The Trustee

reviewed the litigation, spoke with the firm’s counsel, and has reviewed the settlement documents. He

 

' As of 9/18/2020 unsecured creditor claims filed total $18,591.27 and the last date to file claims was 06/09/2020.
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believes that under the circumstances this settlement is in the best interest of the Estate. The settlement
was well negotiated on behalf of all 51 plaintiffs, and Debtor’ portion from the settlement was fairly
allocated. Thus, the Trustee believes that the settlement is in the best interest of the Estate because it will
bring proceeds into the Estate without the need for litigation and the cost and risk of collection.

7, This settlement involved 51 plaintiff's and a number of defendants, most of whom were
not involved in a bankruptcy matter. Thus, the Settlement Agreement is lengthy, and the total amount is
confidential. However, the Trustee attests to the reasonableness and soundness of the settlement in his
best business judgment.

8. Thus, the Trustee requests an order providing Ice Legal the authority to take these funds
from the settlement proceeds that will be held in its attorney client trust account. Ice Legal will then
turnover the balance of the Debtor’ portion of the settlement to the Estate within 7 days. The Trustee will
hold those funds until he finalizes the administration of the Estate and will pay the Debtor’ remaining
amount in due course and in her sole discretion.

WHEREFORE, the Chapter 7 Trustee requests the settlement set forth herein be approved and

providing such other and further relief as is just.

Dated: 9/18/2020.

/s/ Jeffrey L. Hill

Jeffrey L. Hill

Chapter 7 Bankruptcy Trustee
P.O, Box 1720

Parker, CO 80134

(303) 805-1478
jeffreyhillpc@gmail.com

CERTIFICATE OF SERVICE
I certify under the penalties of perjury that true copies of the foregoing motion, along with a

proposed order and L.B.R. 9013-1.1 notice were served upon the following persons at the addresses
indicated by electronic filing or First Class Mail, Postage prepaid, this 18th day of September, 2020:

Electronically
Office of the U.S. Trustee

David Volk, Esq.
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Via First Class Mail

Carol Freel, 25920 E. Jewel Ave. Aurora, CO. 80018

To all other interested parties on the attached claims register

/s/ Jeffrey L. Hill
Jeffrey L. Hill

Chapter 7 Bankruptcy Trustee
P.O. Box 1720

Parker, CO 80134

(303) 805-1478
jeffreyhillpc@gmail.com
